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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


   BABY DOE, et al.,

                Plaintiffs,

   v.                                       Case No. 3:22-cv-49-NKM-JCH

   JOSHUA MAST, et al.,

                Defendants.



        PLAINTIFFS’ MEMORANDUM: (A) IN OPPOSITION TO MOTIONS TO QUASH
                           AND FOR PROTECTIVE ORDER, AND
                    (B) IN SUPPORT OF CROSS MOTION TO COMPEL
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 I.          INTRODUCTION

             This is a dispute involving Defendants’ tortious interference with Plaintiffs’ parental rights.

      After fraudulently and secretly obtaining a now-vacated adoption order, Defendants Joshua and

      Stephanie Mast, with the aid of their co-conspirators (including Joshua’s brother, Defendant

      Richard Mast), fraudulently induced Plaintiffs John and Jane Doe to travel to the United States

      with Baby Doe under the pretense of offering them medical assistance for Baby Doe. Once they

      arrived, Joshua and Stephanie Mast abducted Baby Doe under the guise of the now-vacated

      adoption order.

             Via a third-party subpoena, Plaintiffs seek production from Liberty University (“LU”) of

      the Mast Defendants’ email communications regarding Baby Doe. These communications

      regarding Baby Doe are plainly relevant to this case, and the Mast Defendants do not claim

      otherwise. Instead, they seek to quash the subpoena on the grounds of marital privilege, attorney-

      client privilege, and/or the work-product doctrine.1

             Unfortunately for the Masts, none of these privileges survived contact with LU’s email

      system. More than a decade ago, the American Bar Association Standing Committee on Ethics

      and Professional Responsibility issued an opinion finding that an attorney “ordinarily must warn

      the client about the risk of sending or receiving electronic communications using a computer or

      other device, or email account, where there is a significant risk that a third party may gain access.”2

      The ABA warned, for example, that if an employee’s email system could be monitored by the


      1
       See Defendant Richard Mast’s Motion to Quash/Modify Subpoena and Motion for Protective
      Order (“RMast’s Motion”) (ECF No. 345); Defendants Joshua and Stephanie Mast’s Motion to
      Quash Plaintiffs’ Subpoena of Nonparty Liberty University and for a Protective Order (“J&S
      Mast’s Motion”) (ECF No. 347).
      2
       ABA Comm. on Ethics and Prof 1 Responsibility, Formal Op. 11-459 (2011) at 1 (available at
      https://www.americanbar.org/content/dam/aba/publications/YourABA/11-
      459.authcheckdam.pdf) (emphasis added).

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       employer, “other third parties may be able to obtain access to an employee’s electronic

       communications by issuing a subpoena to the employer….”3

                 Joshua Mast and Richard Mast, themselves attorneys, failed to heed that warning, and

       given clear Fourth Circuit precedent, the risk noted by the ABA has now turned into reality. The

       Masts’ communications using the LU email system were governed by the same rules applicable to

       LU employees—rules that are wholly incompatible with maintaining confidentiality of the

       communications. Indeed, the LU rules governing email accounts preclude the assertion of

       precisely the kinds of privilege claims now advanced by the Masts. The Mast Defendants’ motions

       to quash Plaintiffs’ subpoena to LU should therefore be denied. For the same reasons, the Court

       should compel production from Joshua and Stephanie Mast and Richard Mast of any and all emails

       from the LU system that are in Defendants’ possession.

 II.             PROCEDURAL HISTORY

                 The current dispute involves (a) certain discovery requests to the Mast Defendants, and

       (b) two subpoenas served on LU.

                 Plaintiffs served their First Set of Requests for Production on all defendants, including

       Joshua and Stephanie Mast (“J&S Mast”) and Richard Mast (collectively, the “Mast Defendants”),

       on December 22, 2022.4 Plaintiffs’ requests (“RFPs”) generally sought documents relating to

       Defendants’ conduct underlying the Amended Complaint. For example, Plaintiffs’ RFP No. 3

       sought, “[a]ll non-privileged Documents relating to the efforts of Joshua and/or Stephanie Mast to




       3
           Id.
       4
        See Plaintiffs’ First Set of Requests for Production to Defendants Joshua Mast, Stephanie Mast,
       Richard Mast, Kimberly Motely, and Ahmad Osmani (attached as Exh. 1).

                                                         2
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  obtain custody and/or adoption orders for Baby Doe.”5 For nearly a year, J&S Mast refused to

  produce any documents, and did so only when compelled by the Court.6

            In the midst of J&S Mast’s obstinate refusal to produce any documents, Plaintiffs served

  their first subpoena on Liberty University on March 24, 2023, seeking documents and

  communications relating to Baby Doe.7 The parties agreed that LU need not produce certain emails

  claimed as privileged by J&S Mast.8 Notably, though, in addition to producing hundreds of

  communications sent or received by Joshua Mast, Stephanie Mast, and/or Richard Mast in

  response to the First Subpoena, LU itself did not object to the First Subpoena on the basis of any

  privilege; nor did it demand any protective order preserving any asserted confidentiality of any

  document or user.9

            On November 28, 2023, the Court ordered J&S Mast to comply with their discovery

  obligations and produce all non-privileged responsive documents by December 28. Order at 12.

  However, J&S Mast failed to provide Plaintiffs with a privilege log until January 31, 2024. J&S

  Mast provided an updated privilege log on February 9, 2024, withdrawing privilege claims over

  hundreds of documents. Yet even in this more recent iteration of their privilege log, J&S Mast

  improperly claimed as privileged – and on that basis withheld – 114 communications that Joshua




  5
      Id. at 6–7.
  6
   November 28, 2023 Memorandum Op. & Order (ECF No. 326) at 12 (“Order”). Even then, J&S
  Mast have yet to produce all responsive documents. See ECF No. 336.
  7
      See 3/24/23 Subpoena to Liberty University (“First Subpoena”) (attached as Exh. 2) at 6.
  8
      See 4/6/2023 Email from R. Jenkins to M. Eckstein (attached as Exh. 3).
  9
      See 3/17/23 Email from J. Shipman to J. King (attached as Exh. 4).

                                                    3
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  Mast sent or received using his LU email account.10 Attached as Exh. 5 is a listing of the documents

  on J&S Mast’s privilege log that Joshua Mast sent or received using his LU email account.

           Similarly, Richard Mast, who also used an LU email account, claims as privileged 65

  communications on the same grounds. Attached as Exh. 6 is a listing of the documents on Richard

  Mast’s privilege log that were sent or received using either Richard Mast’s or Joshua Mast’s LU

  email account.11

           After reviewing LU’s policy regarding the use of its email system, Plaintiffs served a

  second subpoena on LU, seeking the LU emails that previously were withheld based on J&S

  Mast’s assertion that they were privileged.12 Specifically, the Second Subpoena sought two

  categories of documents: (1) all communications relating to Baby Doe sent or received by Joshua

  or Stephanie Mast on their LU email accounts from any of 19 email addresses that they previously

  identified should be withheld on the basis of privilege, and (2) all communications relating to Baby

  Doe sent between J&S Mast.13 The Mast Defendants filed motions to quash the Second Subpoena,

  but, once again LU posed no objection to production. In particular, LU has never objected to


  10
    J&S Mast’s privilege log also includes 15 entries that they describe as attachments “withheld
  pursuant to marital communications privilege” but fail to provide corresponding email addresses.
  See Exh. 5 (rows 117–131). To the extent that any of these attachments were sent using Joshua
  Mast’s LU email address, they also are improperly withheld. Additionally, J&S Mast’s privilege
  log includes 12 entries that are described as email chains, but contain names of “other participants”
  without corresponding email addresses, including Jonathan Mast, an employee of LU. Id. (rows
  132–139; 141–44). If any of these communications used an LU email address, they likewise are
  improperly withheld for the reasons explained in this Memorandum.
  11
     A handful of the communications withheld by Richard Mast involve an LU email account
  belonging to a third party, such as Richard Mast’s law clerk (hwbradburn@liberty.edu). See Exh.
  6.
  12
       See 2/19/24 Subpoena to Liberty University (“Second Subpoena”) (attached as Exh. 7).
  13
    Id. Both requests limited the requested documents to those “relating to (1) a child located at any
  time in Afghanistan and/or the child’s relatives or caregivers, (2) a child purportedly adopted by
  Joshua Mast and Stephanie Mast, and/or (3) court proceedings initiated by or filed against Joshua
  Mast and/or Stephanie Mast relating to the custody and/or adoption of a child[.]”

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   production on the basis of the attorney-client privilege, the marital privilege, or the work-product

   doctrine; nor has LU demanded a protective order to preserve the purported confidentiality of any

   document or user.

III.         FACTUAL BACKGROUND

             A.     The Rules Governing LU’s Email System

             The email communications at issue (the “Disputed Emails”) were sent and received by the

   Mast Defendants using LU accounts that were governed by LU’s “Acceptable Use Policy” (the

   “LU Rules”).14 The LU Rules, which apply to LU employees, students, and alumni users like the

   Masts, include a number of relevant provisions regarding objectionable use, consent to the Rules,

   monitoring of users’ emails, ownership of users’ emails, and disclosure.

             Restrictions on Objectionable Use. To begin with, the LU email system is an environment

   that LU polices to prevent abuse. The Rules provide that “[e]mail accounts assigned to a user by

   LU are a privilege and should not be misused.”15 Moreover, “[b]ehavior of all users on the network

   must be consistent with all applicable University policies including the University’s Mission and

   Doctrinal Position . . . .”16 LU thus “reserves the right to reject from the network or block electronic

   communications and content deemed not to be in compliance with policies governing use of

   University Information Systems.”17

             User Consent to the LU Rules. Users of LU email accounts assent to, and agree to comply

   with, the LU Rules by “clicking through” a usage agreement when they sign on.18 Even if that



   14
        RMast’s Motion (ECF No. 345) at 4. The LU Rules are attached as Exhibit 4 to RMast’s Motion.
   15
        LU Rules, ECF No. 345-4 at PageID 4431.
   16
        Id. at PageID 4430.
   17
        Id. at PageID 4435.
   18
        Id. at PageID 4429.

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   were not the case, the very act of using the system is deemed to be consent to the “monitoring” of

   users’ emails by LU.19

             Monitoring of Users’ Emails. The LU Rules inform users that LU “reserves the right with

   or without notice, to monitor, record, limit or restrict any user account, access and/or usage of [the

   user’s] account.”20 The LU Rules also provide that LU “may also monitor, record, inspect, copy,

   remove or otherwise alter any data, file or system resources in its sole discretion.”21 The LU Rules

   note that monitoring and inspection are not some remote possibility, and indeed the Rules warn

   users that LU actually intends to engage in this practice:

             All electronic communications, files and content presented to and/or passed on the
             Liberty network, including those to, from or through Internet connection(s) may be
             monitored, examined, saved, read, transcribed, stored or retransmitted by an
             authorized employee or agent of the University, in its sole discretion, with or
             without prior notice to the user. The University reserves and intends to exercise
             the right to do so. Electronic communications and content may also be examined
             by automated means.22

             Ownership and Privacy of Users’ Emails. One of the reasons LU has the right to examine

   users’ emails is because LU owns them. As the LU Rules note, LU “owns all University email

   accounts and data transmitted or stored using the University email account,”23 and LU “also retains

   access rights to all files and electronic mail on its Information Systems.”24 If that were not

   sufficiently clear, the LU Rules further provide that:

             University Information Systems and the messages, e-mail, files attachments,
             graphics and Internet traffic generated through or within these systems are the
             property of the University. They are not the private property of any University

   19
        Id. at PageID 4434.
   20
        Id. at PageID 4434.
   21
        Id. at PageID 4434.
   22
        Id. at PageID 4436 (emphasis added).
   23
        Id. at PageID 4431.
   24
        Id. at PageID 4434.

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              employee, faculty, staff, contractor, student or any other person. No user of the
              Information Systems should have an expectation of privacy in their electronic
              communications.25

              Disclosure of Users’ Emails. Consistent with the Rules’ denial of any user’s ownership

   or privacy rights, LU may do whatever it wishes with emails in its system, including disclosing

   them to whomever it wants. Specifically, the LU Rules provide that LU “may disclose information,

   including pursuant to an internal or external investigation of alleged misconduct or wrongdoing,

   and may provide information to third parties, including law enforcement.”26 By merely using their

   email accounts, users give LU permission to engage in each of these operations.27 And even the

   curious declaration submitted by LU’s John Gauger28 concedes that LU does in fact access users’

   emails when LU is “required by law” to do so.29 LU already exercised this right and accessed the

   Masts’ email at least once, when LU produced emails in response to the First Subpoena.

              B.     The Mast Defendants’ Protestations

              In an effort to avoid the clear dictates of the LU Rules—and their devastating effect on

   confidentiality/privilege claims for the Disputed Emails, detailed below—the Mast Defendants

   now contend that they somehow used their LU accounts based on different rules.

                     1.       Richard Mast’s Effort to Escape the LU Rules

              Richard Mast, a lawyer and member of the Virginia State Bar, concedes that all emails he

   sent or received using LU email accounts were in fact governed by the LU Rules.30 Yet he


   25
        Id. at PageID 4436 (emphasis added).
   26
        Id. at PageID 4435.
   27
        Id.
   28
        Discussed infra at 8–10.
   29
     Declaration of John Gauger (“Gauger Dec.) (ECF No. 345-5) at 2 (emphasis added). A Rule 45
   subpoena does, of course, impose “by law” a duty to produce responsive materials.
   30
        RMast Motion at 4.

                                                     7
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   nevertheless maintains that he has somehow been operating, in practice, under rules directly

   contrary to those published by LU. Specifically, Richard Mast claims he has, from at least 2008

   to the present, “known and understood that Liberty University’s email policy as practiced was to

   preserve confidentiality, privacy, and privileges relating to legal representation, including

   attorney-client privilege and attorney work-product doctrine.”31

              In an effort to substantiate this alternative universe, Richard Mast offers the Declaration of

   John M. Gauger, LU’s Chief Information Officer and Executive Vice President of Analytics.32

   Gauger’s declaration is, at the outset, a curious one. Gauger disclaims any status as a party,33 and

   he does not aver that he actually speaks on behalf of LU, or even that he is authorized to do so. On

   that point, note that LU’s own policies required Gauger to consult with LU’s counsel and “receive

   instructions” before submitting a declaration in this case34—but he does not state that he did so.

              But even if Gauger were speaking on behalf of LU, under instructions from its attorneys,

   it would not matter—because to the extent Gauger says anything relevant, it supports Plaintiffs’

   position. Gauger never contradicts the LU Rules in any respect, does not concede that they are

   ignored in practice (much less that users have an “expectation of privacy”), and does not




   31
        Declaration of Richard Mast (“RMast Dec.”) (ECF No. 345-3) at 1.
   32
        Declaration of John M. Gauger (“Gauger Dec.”) (ECF No. 345-5) at 1.
   33
        Id.
   34
      Liberty University, Polices and Procedures, Subpoenas and Summons (“All employees must
   immediately contact the Office of Legal Affairs by telephone and receive instructions before taking
   any action regarding any subpoena from any court or government authority, which document may
   require … the production of University documents, an inspection by an outside attorney, party or
   government official of University controlled property or items, or require an employee to give a
   deposition in a matter involving the University or one of its affiliates.”). Available at
   https://www.liberty.edu/legal-affairs/policies-procedures/.

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   substantiate Richard Mast’s categorical claim that LU “preserve[s] confidentiality, privacy, and

   privileges relating to legal representation.”35

              Instead, Gauger avers first that emails on the LU email system “must be treated as

   confidential by other students or employees and accessed only by the intended recipients.”36 This

   observation is both unremarkable and irrelevant. Gauger does not claim, contrary to the LU Rules,

   that LU itself must treat users’ emails as confidential and refrain from accessing them—indeed, in

   the very next sentence he states, entirely consistent with the LU Rules, that LU owns the emails

   and “has the right to audit and/or monitor this data . . . .”37

              Gauger next observes that LU has a “standard practice of not actively monitoring or

   accessing the emails of students, alumni, or employees . . . .”38 Even if that observation is true (and

   given the volume of email on LU’s email system, presumably it is), it is irrelevant. As explained

   below, the dispositive point is not whether LU has a “practice” of monitoring or accessing emails

   (“actively” or otherwise), but rather whether LU retains the right to do so. And it plainly does.

   Indeed, Gauger concedes in the very same sentence that LU possesses and exercises this right.

   According to Gauger, the “standard practice” of “not actively monitoring” applies “unless the

   University is required by law to access the e-mails . . . .”39 Put another way, when LU receives a

   subpoena seeking users’ emails, as it has here, LU does indeed access users’ emails on its system

   (as it did when it responded to the First Subpoena).


   35
        RMast Dec. (ECF No. 345-3) at 1.
   36
        Gauger Dec. (ECF No. 345-5) at 1-2 (emphasis added).
   37
        Id. at 2.
   38
      Id. Even if this practice were sufficient to create a reasonable expectation of privacy among
   users, there is no evidence of reliance: Gauger does not identify any instance in which this
   “standard practice” has ever been communicated to any user, much less to the Mast Defendants.
   39
        Id. (emphasis added).

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              Gauger’s final observation is that, consistent with Richard Mast’s own experience, LU

   generally recognizes and protects the confidentiality and privilege associated with the legal work

   done by the lawyers LU employs in its School of Law, including when they represent third

   parties.40 But the obvious limit of this (again, unremarkable) observation proves Plaintiffs’ point.

   While LU may recognize and protect the confidentiality of communications sent by lawyers

   employed by LU, Gauger does not say that LU recognizes and protects confidentiality and privilege

   claimed by third-party lawyers who are representing third parties.

              And, of course, Gauger could not possibly make that claim consistent with the LU Rules,

   or given this record. Indeed, we now know that LU in fact takes no steps to preserve the

   confidentiality or privilege of third-party attorneys using the LU email system. In response to the

   two subpoenas it received in this case—subpoenas seeking emails sent and received by third-party

   attorneys—LU has never once objected to production on grounds of confidentiality or privilege.

                     2.     Joshua Mast’s Alternative Email Reality

              Joshua Mast, who also is an attorney and member of the Virginia State Bar, adopts a

   slightly different strategy in his effort to evade the plain import of the LU Rules. He simply denies

   reality. First, although Joshua concedes he made “hundreds of communications to the Masts’ own

   counsel and between Joshua and Stephanie” using his LU email account,41 presumably logging on

   to the system scores of times, he pleads total ignorance of the terms and conditions on which he

   did so—claiming that his use of his LU email account “has never been accompanied by University




   40
        Id.
   41
      Defendants Joshua and Stephanie Mast’s Memorandum in Support of Motion to Quash
   Plaintiffs’ Subpoena of Nonparty Liberty University and For a Protective Order (“J&S Mast
   Mem.”) (ECF No. 347-1) at 2.

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   warnings” that his personal communications might be disclosed.42 Joshua provides no declaration

   supporting this assertion – possibly because the evidence provided by his own brother, Richard

   Mast, is directly to the contrary. As noted above, Richard attaches to his motion the LU Rules,

   which explicitly state that users of LU email accounts agree to comply with the Rules by “clicking

   through” a usage agreement when they sign on, and simply by using the system.43

             Similarly, Joshua states that he and his wife “have a reasonable expectation of privacy in

   the communications sent or received by Joshua’s” LU email account,44 whistling past the rather

   unhelpful provision of the LU Rules proclaiming that “no user” of the system “should have an

   expectation of privacy in their electronic communications.”45 He also claims, again without any

   sworn testimony, that his use of the LU email system “has never been accompanied by University

   warnings that personal communications [sic] or that such communications could be monitored or

   disclosed,”46 without mentioning that in fact, the LU Rules warn (a) that LU not only can monitor

   his emails, but that LU actually intends to do so,47 and (b) that LU is free to disclose his emails to

   any “third parties.”48 Finally, like Richard, Joshua relies on the Gauger Dec. for a claim that LU

   “does not monitor alumni use of their e-mail accounts,”49 but as noted above, Mr. Gauger actually

   confirmed that LU does access users’ emails in situations exactly like this one.




   42
        Id. at 2-3.
   43
        LU Rules (ECF No. 345-4) at PageID 4429.
   44
        J&S Mast Mem. (ECF No. 347-1) at 2.
   45
        LU Rules (ECF No. 345-4) at PageID 443644 (emphasis added).
   46
        J&S Mast Mem. (ECF No. 347-1) at 2-3.
   47
        LU Rules (ECF No. 345-4) at PageID 4436.
   48
        Id. at PageID 4435.
   49
        J&S Mast Mem. (ECF No. 347-1) at 8.

                                                    11
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IV.          ARGUMENT

             This Court should deny the Mast Defendants’ respective motions to quash Plaintiffs’

   Second Subpoena to LU and grant Plaintiffs’ cross-motion to compel related documents from the

   Mast Defendants. The Disputed Emails are not protected by the attorney-client or marital privilege

   because the Mast Defendants lacked any reasonable expectation of privacy in the contents of those

   communications. The work product doctrine does not shield the Disputed Emails from production

   either. Emails associated with the custody and adoption proceedings were not prepared “in

   anticipation of litigation” and, regardless, the Masts’ use of the LU email system waived work-

   product protection for all the Disputed Emails.

             A.     No Disputed Emails Are Protected by the Attorney-Client Privilege or Marital
                    Privilege.

             The Fourth Circuit requires those who claim attorney-client privilege to demonstrate: “(1)

   the asserted holder of the privilege is or sought to become a client; (2) the person to whom the

   communication was made is a member of the bar of a court, or his subordinate and in connection

   with this communication is acting as a lawyer; (3) the communication relates to a fact of which

   the attorney was informed by his client[,] without the presence of strangers[, and] for the purpose

   of securing primarily either an opinion on law[,] or legal services[,] or assistance in some legal

   proceeding, and not for the purpose of committing a crime or tort; and (4) the privilege has been

   claimed and not waived by the client.”50 Fundamentally, attorney-client privilege applies only to

   confidential communications.51




   50
        United States v. Jones, 696 F.2d 1069, 1072 (4th Cir. 1982) (numbering simplified).
   51
        Hawkins v. Stables, 148 F.3d 379, 383-84 (4th Cir. 1998).

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              Marital privilege similarly protects “those marital communications made in confidence and

   intended to be confidential.”52 When a communication between spouses “because of its nature or

   the circumstances under which it was made, was obviously not intended to be confidential, it is

   not a privileged communication.”53 When such communications are “made in the presence of a

   third party, such communications are usually regarded as not privileged[.]”54 Indeed, this privilege

   does not extend to communications between spouses transmitted “through a third party

   intermediary.”55

              A document is not privileged merely because a litigant wills it to be. Rather, “the question

   of privilege comes down to whether the intent to communicate in confidence was objectively

   reasonable.”56 Along the same lines, communications between an attorney and her client are not

   automatically protected by attorney-client privilege. “[F]or documents sent through e-mail to be

   protected by the attorney-client privilege there must be a subjective expectation of confidentiality

   that is found to be objectively reasonable.”57 Whether there was a reasonable expectation of

   privacy in communications between spouses is similarly essential to determining whether marital

   privilege applies.58

              Federal courts routinely consider four factors in determining whether employees have an

   expectation of privacy in emails sent and received on their employer’s domain: (1) whether the



   52
        United States v. Broome, 732 F.2d 363, 364 (4th Cir. 1984).
   53
      Wolfle v. United States, 291 U.S. 7, 14 (1934) (cited in Sprenger v. Rector and Bd. of Visitors
   of Va. Tech, Civ. No. 7:07cv502, 2008 WL 2465236, at *2 (W.D. Va. June 17, 2008)).
   54
        Id.
   55
        Id. at 15.
   56
        In re Asia Global Crossing, 322 B.R. 247, 258 (S.D.N.Y. Mar. 21, 2005).
   57
        Convertino v. U.S. Dept. of Justice, 674 F.Supp.2d 97, 110 (D.D.C. 2009).
   58
        See In re Rsrv. Fund Sec. and Derivative Litig., 275 F.R.D. 154, 159 (S.D.N.Y. 2011).

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   corporation maintains a policy banning personal or other objectionable use; (2) whether the

   corporation monitors the use of the employee’s computer or email; (3) whether third parties have

   a right to access the computer or email; and (4) whether the corporation notified the employee, or

   the employee was aware, of the use and monitoring polices.59 Analyzing these four factors in the

   context of LU’s Rules (which apply to LU employees, students, and alumni users like the Masts),

   it is clear that there was no reasonable expectation of privacy in emails sent to or received on any

   LU email account.

             First, LU’s Rules ban “objectionable use,” see In re Asia Global Crossing, Ltd., 322 B.R.

   247, 257 (S.D.N.Y. Mar. 21, 2005), stating that “[a]ny unauthorized, inappropriate, illegal or

   illegitimate use of the University’s Information Systems . . . will constitute a violation of

   University policy[.]”60 The Rules further advise that “[e]mail accounts assigned to a user by LU

   are a privilege and should not be misused”61 and that LU “reserves the right to reject from the

   network or block electronic communications and content deemed not to be in compliance with

   policies governing use of University Information Systems.”62 Federal courts, along with the

   Virginia Supreme Court, have held that, even when an employer’s policy placed no prohibition on

   an employee’s personal use of the employer’s email domain, an email policy cautioning employees

   that they have no right of personal privacy as to their emails is sufficient to satisfy the first Asia



   59
     See, e.g., In re Asia Global Crossing, Ltd., 322 B.R. at 257; Doe 1 v. George Washington Univ.,
   480 F.Supp.3d 224, 226 (D.D.C. 2020); Convertino v. U.S. Dept. of Justice, 674 F.Supp.2d 97,
   110 (D.D.C. 2009); Bethune-Hill v. Virginia State Bd. of Elections, 114 F.Supp.3d 323, 346-47
   (E.D. Va. 2015); Brown-Criscuolo v. Wolfe, 601 F.Supp.2d 441, 449 (D. Conn. 2009); Sprenger,
   2008 WL 2465236, at *3; Hanson v. First Nat. Bank, 2011 WL 5201430, at * 5-6 (S.D.W.V. Oct.
   31, 2011).
   60
        LU Rules (ECF No. 345-4) at PageID 4436.
   61
        LU Rules (ECF No. 345-4) at PageID 4431.
   62
        Id. at PageID 4435.

                                                    14
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   Global Crossing factor.63 LU’s Rules certainly caution employees, students, and alumni that “[n]o

   user of the Information Systems [which includes emails] should have an expectation of privacy in

   their electronic communications.”64

             Second, LU monitors the users’ email accounts. Courts have found this factor satisfied

   when a policy provides that an employer “may search, review, monitor, or copy any e-mail sent to

   or from a [company] e-mail account.”65 The LU Rules are explicit that LU “reserves the right with

   or without notice, to monitor, record, limit or restrict any user account, access and/or usage of [the

   user’s] account.”66 “Respecting the second factor . . . most Courts have not required evidence that

   the employer actually did so. Rather, the employer’s reservation of the right to do so has sufficed

   as a basis for concluding that employees had no reasonable expectations of privacy.”67

             Third, LU’s Rules give third parties a right to access a user’s LU email communications.

   Courts have held this factor satisfied when, as here, a policy warns users that their emails are

   subject to disclosure.68 Here, the LU Rules, which apply to employees, students, and alumni users

   alike, state that “[t]he University may disclose information, including pursuant to an internal or




   63
      See Doe 1 v. George Washington Univ., 480 F.Supp.3d at 227; see also Banks v. Mario Indus.
   of Va., Inc., 274 Va. 438, 454 (2007) (holding that employee waived attorney-client privilege for
   document created on employer’s computer where system could be used for personal business,
   but where policy advised employee he had “no expectation of privacy”). Thus, the analysis of the
   Mast Defendants’ waiver of attorney-client and marital communication privileges leads to the
   same result regardless of whether the Court applies Fourth Circuit law or Virginia law.
   64
        Id. at PageID 4436.
   65
        Doe 1 v. George Washington Univ., 480 F.Supp.3d at 227.
   66
        Id. at PageID 4434.
   67
        Hanson, 2011 WL 5201430, at *6 (emphasis added).
   68
     In re Rsrv. Fund Securities and Derivative Litigation, 275 F.R.D. at 158-59 (finding factor
   satisfied when policy stated “[e]mployees are reminded that . . . e-mail communications received
   by and sent from Reserve . . . may be subject to disclosure to regulatory agencies or the courts”).

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   external investigation of alleged misconduct or wrongdoing, and may provide information to third

   parties, including law enforcement.” Thus, this factor is satisfied.

             Fourth, LU notified its information system users of its use and monitoring polices. Courts

   have held the fourth Asia Global Crossing factor satisfied when an employer’s policy put an

   employee “on notice” that “it would be overseeing his Internet use.”69 This factor weighs “heavily

   against” employees when employees are repeatedly “required to acknowledge that [they] had read

   the policy.”70 Additionally, a court in this Circuit has held that an employee had no reasonable

   expectation of privacy in his email communications when his employer displayed a banner upon

   login “clearly inform[ing] the employee that he has no expectation of privacy and stat[ing] that the

   computer is monitored . . . .”71 Here, LU’s Rules explicitly put the Mast Defendants on notice of

   the use and monitoring rules, stating that “[u]sers of the University’s Information Systems are

   expected to review, understand, and comply to this Policy and its associated standards.”72 They

   further state that “[a]nyone using these systems expressly consents to such monitoring,”73 and that

   users have no expectation of privacy.74 As in Finazzo, users here are expected to review and

   comply with the Rules, and are reminded of the Rules upon every login to their LU email account.

             Because all four Asia Global Crossing factors are satisfied—indeed, because the LU Rules

   appear to have been crafted with the Asia Global Crossing factors in mind—the Mast Defendants



   69
        United States v. Simons, 206 F.3d 392, 398 (4th Cir. 2000).
   70
     United States v. Finazzo, No. 10-CR-457 (RRM)(RML), 2013 WL 619572, at *10 (E.D.N.Y.
   2013).
   71
     See United States v. Mosby, No. 3:08-CR-127, 2008 WL 2961316, at *5 (E.D. Va. July 25,
   2008).
   72
        Id. at PageID 4429.
   73
        Id. at PageID 4434.
   74
        Id. at PageID 4436.

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   had no reasonable expectation of privacy in their email communications sent or received on their

   LU email accounts. As a result, they cannot claim that such communications are protected by the

   attorney-client or marital communications privileges. That is especially true here, where Joshua

   Mast and Richard Mast are Virginia-barred attorneys who should understand the importance of

   maintaining the confidentiality of their communications.75 The Court should deny their respective

   motions to quash and order that they immediately produce all such communications.

             B.     The Disputed Emails Are Not Protected by the Work-Product Doctrine

             The Mast Defendants assert that a number of the Disputed Emails are protected against

   disclosure by the work-product doctrine—and that no waiver occurred when those emails were

   sent using LU email addresses, because the Masts did not “knowingly provide [the] work product

   to someone adverse to” their interests.76 The Mast Defendants err in two respects. First, the work-

   product doctrine plainly does not cover any Disputed Emails associated only with the custody and

   adoption proceedings prior to December 8, 2021. Second, the circumstances here are in fact

   sufficient to result in waiver of the doctrine with respect to all the Disputed Emails.

                    1.     Disputed Emails Prepared in Connection With the Custody and
                           Adoption Proceedings Are Not Entitled to Work-Product Protection

             The Masts concede that it is their burden, when seeking work-product protection for

   Disputed Emails, to show that the emails in question were “prepared in anticipation of litigation.”77

   They claim that three proceedings count as “litigation” here for purposes of the doctrine: (1) Baby

   Doe’s custody and adoption proceedings, (2) what the Mast Defendants call the “parallel state



   75
     See, e.g., Connick v. Thompson, 563 U.S. 51, 64 (2011) (“Attorneys are trained in the law and
   equipped with the tools to interpret and apply legal principles, . . . and exercise legal judgment”).
   76
        See, e.g., RMast’s Motion (ECF No. 345) at 10 (citations omitted).
   77
     J&S Mast Mem. (ECF No. 347-1) at 10 (citation omitted); RMast’s Motion (ECF No. 345) at 6
   (citation omitted).

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   court litigation,” and (3) “this litigation.”78 But with respect to the first category, they are wrong:

   the custody and adoption proceedings were not “litigation” for purposes of the work-product

   doctrine, and documents prepared in connection with those proceedings thus are entitled to no

   work-product protection.

              “Litigation,” for purposes of applying the work product doctrine, is an “adversary

   proceeding,” i.e., “a proceeding in court or administrative tribunal in which the parties have the

   right to cross-examine witnesses or to subject an opposing party’s presentation of proof to

   equivalent disputation.”79 This definition corresponds to the work-product doctrine’s purpose of

   protecting the special place of the attorney in the adversarial process,80 precisely the concern

   identified by the Mast Defendants in their briefing, and by the Fourth Circuit.81

              The custody and adoption proceedings for Baby Doe were, though, not adversarial—they

   were instead ex parte proceedings. The Masts sought custody and then adoption with no opposition

   – no surprise given their failure to provide notice of those proceedings to others with interest.

   Because of that knowing failure, both the Juvenile & Domestic Relations Court and the Circuit

   Court made factual findings—based on objectively false information provided by the Mast

   Defendants—that Baby Doe was not Afghan, without relatives, and that the government of




   78
        J&S Mem. at 11.
   79
      United States v. Am. Tel. & Tel. Co., 86 F.R.D. 603, 625 (D.D.C. 1979) (adopting guidelines
   relating to the law of privilege); see also Edna Selan Epstein, THE ATTORNEY-CLIENT PRIVILEGE
   AND THE WORK-PRODUCT DOCTRINE, 123–25 (Am. Bar Ass’n., 4th ed. Supplement, 2004)
   (relevant pages attached as Exh. 8).
   80
        Id.
   81
      RMast’s Motion (ECF No. 345) at 5-6; Nat’l Union Fire Ins. Co. v. Murray Sheet Metal Co.,
   967 F.2d 980, 983-84 (4th Cir. 1992) (“our adversary system depends on the effective assistance
   of lawyers, fostered by the privacy of communications between lawyer and client and the privacy
   in development of legal theories, opinions, and strategies for the client”) (emphasis added)).

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   Afghanistan intended to waive jurisdiction over her.82 While none of that was true—as was

   established by the Circuit Court’s order vacating the adoption—those misrepresentations caused

   the custody and adoption proceedings to be non-adversarial.83

          Nor do the Mast Defendants identify any “triggering event” relating to the custody and

   adoption proceedings that led them to anticipate litigation.84 Accordingly, no work product

   protection could attach to documents prepared in connection with those activities. There is no

   reason to protect the adversarial process when there is no adversary.85 There was no “litigation”

   here, and thus no basis for claiming any work-product protection, before December 8, 2021, the

   date Plaintiffs sought to vacate the adoption order in the parallel state court litigation.

                  2.      The Mast Defendants’ Conduct Was Sufficient to Waive Work-Product
                          Protection Over All Disputed Emails

          But even if the Disputed Emails all were prepared in anticipation of litigation, any work-

   product doctrine protection was waived. The Mast Defendants seem to think that waiver of the


   82
      See, e.g., Nov. 6, 2019 J&DR Order (attached as Exh. 9) at ¶¶ 3(E), (F) & (G); Nov. 10, 2019
   Interlocutory Order of Adoption (attached as Exh. 10) at ¶ 2; Dec. 3, 2020 Adoption Order
   (attached as Exh. 11) at ¶ A.
   83
      May 3, 2023 Order (attached as Exh. 12). Surely, the Mast Defendants will argue that they did
   not knowingly provide any false information to the state courts. That, though, is irrelevant—what
   is relevant, and indisputable, is that the information they provided the state courts rendered the
   custody and adoption proceedings non-adversarial.
   84
     See, e.g., Bhattacharya v. Murray, No. 3:19cv00054, 2022 WL 875032, *4 (W.D. Va. Mar.
   23, 2022) (Hoppe, J.) (discussing triggering event).
   85
     See generally In re Grand Jury Subpoenas dated Mar. 9, 2001, 179 F.Supp. 2d 270, 288
   (S.D.N.Y. 2001) (work product doctrine did not protect defendant’s attorneys’ communications
   created in process of seeking Presidential pardon: process was ex parte, not adversarial,
   especially since attorneys did not give notice of proceeding to United States Attorney or to
   Pardon Attorney at Department of Justice. “Under these circumstances, the rationales underlying
   the work product doctrine do not apply. Application of the work product doctrine here would not
   promote the fair and efficient functioning of the adversarial system of justice.”); Application of
   Minebea Co., Ltd., 143 F.R.D. 494, 499 (S.D.N.Y. 1992) (work done in connection with non-
   adversarial, ex parte proceeding is not “in anticipation of” or “concerning” litigation for purposes
   of the work-product doctrine).

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   work-product doctrine can occur only if the materials in question are knowingly provided to an

   adversary.86 But that is not the law. In fact, the Fourth Circuit has recognized that even the

   inadvertent disclosure of attorney work product can result in a waiver.87

             Generally, waiver occurs if the litigant’s conduct with respect to the materials in question

   is “consistent with a conscious disregard of the advantage that is otherwise protected by the work

   product rule.”88 And that, in turn, is the case when work-product materials are disclosed under

   circumstances that substantially increase the possibility that an opposing party will obtain the

   protected information.89 Specifically, “release of otherwise protected material without an intent to

   limit its future disposition might forfeit work product protection . . . . [T]o effect a forfeiture of

   work product protection by waiver, disclosure must occur in circumstances in which the attorney

   cannot reasonably expect to limit the future use of the otherwise protected material.”90

             And that is precisely what has happened here. Just as the ABA warned, by disclosing the

   Disputed Emails to LU via the LU email system, the Mast Defendants “substantially increased the

   possibility” that an opposing party could obtain the materials. Far from evincing an “intent to limit”

   future disposition of the materials, the Mast Defendants literally granted ownership of the

   materials to LU, and expressly gave LU permission to disclose the materials to third parties.

   Thus, the Masts—particularly Joshua Mast and Richard Mast, who are lawyers and presumed to




   86
        See, e.g., RMast’s Motion (ECF No. 345) at 10.
   87
     See In re Martin Marietta Corp. v. Pollard, 856 F.2d 619, 626 (4th Cir. 1988); Doe v. United
   States, 662 F.2d 1073, 1081 (4th Cir. 1981); Dunplan Corp. v. Deering Milliken, Inc., 540 F.2d
   1215, 1223 (4th Cir. 1976).
   88
        Doe, 662 F.2d at 1081.
   89
        See Continental Cas. Co., 537 F.Supp. 2d at 772-73.
   90
        Doe, 662 F.2d at 1081.

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   understand the law—could never have “reasonably” expected LU to limit future use of the

   Disputed Emails, whatever their subjective beliefs and assumptions may have been.

            Tellingly, the Mast Defendants have never asked LU to surrender any of the Disputed

   Emails; nor do they now ask the Court to issue any order requiring LU to return, sequester, or

   destroy them. The Mast Defendants know they cannot seek that relief, as they long ago gave LU

   complete control of the materials and, thus, plainly waived any work-product protection.91

            C.     The Mast Defendants’ Additional Arguments Against Production are Without
                   Merit

            J&S Mast make several additional arguments against production of the Disputed Emails.

   None is coherent or convincing.

            First, they offer a procedural objection, claiming that the Second Subpoena to LU should

   be quashed because if “a party wishes to seek production of . . . privileged matter, the proper

   vehicle is a motion to compel—not a third-party subpoena.”92 They cite Rule 45(d)(2)(B)(i) for

   that proposition. But that Rule requires a “motion to compel” only where the “person commanded

   to produce documents or tangible things” (i.e., the recipient of the subpoena) serves an objection

   to the subpoena. Fed. R. Civ. P. 45(d)(2)(B)(i). That rule does not apply here because LU (the

   entity “commanded to produce”) has not objected to production. For persons who claim to be




   91
     Despite being aware that the confidentiality of their attorney-client, marital, and work product
   communications is in peril, J&S Mast, and their counsel, have continued their privilege-waiving
   conduct. For example, Richard Mast recently filed a supplement to his motion to quash advising
   the Court that he wanted to “claw back” 32 documents produced by LU in response to the First
   Subpoena. Defendant Richard Mast’s Notice of Supplemental Filing in Support of Motion for
   Protective Order (ECF No. 353). Only five of those “clawed back” documents, however, actually
   were sent by or received by Richard Mast. The remaining 27 documents were sent by or received
   by Joshua Mast—who has not sought to claw them back.
   92
        J&S Mem. at 5.

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   “affected” by a subpoena to a third party, like the Masts here, their proper course is to do what

   they did here—file a motion to quash (however baseless). Fed. R. Civ. P. 45(d)(3).

              Similarly, the Masts claim that the Second Subpoena is somehow an “impermissible

   attempt to circumvent the discovery process in this case by seeking discovery from non-party

   Liberty University that [Plaintiffs have] already received from the Masts . . . .”93 But the Masts

   cite no Rule requiring Plaintiffs to obtain information only from them when it is also held by a

   third-party. Nor do they cite any case recognizing, much less enforcing, such an objection to a

   Rule 45 subpoena. It is of course entirely normal and proper for Plaintiffs to obtain discovery of

   relevant documents from every available source, if only to ensure that a complete collection is

   made.

              J&S Mast next offer a parade of horribles: failure to quash the subpoena, they urge, would

   “completely undermine the objectively reasonable expectations of privacy of clients using a Gmail

   or Yahoo e-mail account or law firms’ extensive reliance on cloud storage and third-party vendors

   for confidential and privileged materials.”94 This is nonsense.

              First, users of Gmail and Yahoo can continue to expect a large degree of privacy regardless

   of the outcome here. Google and Yahoo are internet service providers providing services to the

   public and, thus, are subject to the Stored Communications Act—which prohibits them from




   93
        Id. at 6.
   94
        Id. at 9.

                                                      22
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   disclosing emails in response to subpoenas in civil matters.95 The Act does not cover private

   universities that, like LU, provide email services to students, employees, and alumni.96

          Second, the Mast Defendants’ concerns regarding law firms actually make Plaintiffs’ point.

   It is difficult to imagine any law firm turning over ownership of confidential client

   communications to a “cloud storage or third-party vendor” and giving that vendor express

   permission not only to review the material, but also to disclose it to whomever the vendor wishes.

   If any law firm engaged in such bizarre and reckless conduct with respect to its clients’ files and

   work product, it presumably would get precisely what it deserved: the loss of any claimed privilege

   or work-product protection for the stored materials.

          In fact, the real parade of horribles marches in the other direction. If the Court agrees with

   the Mast Defendants, and quashes the subpoena on the basis of the Masts’ privilege claims, that

   precedent cannot be contained. In the wake of such a ruling, LU students and employees facing

   investigations or disciplinary proceedings—and who are subject to the same LU Rules as the Mast

   Defendants—might conjure privilege and work-product objections to prevent LU from accessing

   their email. By quashing the subpoena here, the Court would be creating for all users of the LU

   email system—and similar email systems offered by universities and other private entities—a

   troubling and unworkable expectation of privacy that the LU Rules expressly disclaim. That result




   95
     18 U.S.C. § 2702; see also In re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp. 2d 606,
   608-12 (E.D. Va. 2008) (“[T]he plain language of the [Act] prohibits AOL form producing the
   Rigsby’s e-mail, and the issuance of a civil discovery subpoena is not an exception to the
   provisions of the [Act] that would allow an internet service provider to disclose the
   communications at issue here”).
   96
     Kerr, Orin, A User's Guide to the Stored Communications Act, and A Legislator's Guide to
   Amending It, 72 Geo. Wash. L. Rev. 1208, 1226 (2004) (relevant portions attached as Exh. 13).

                                                   23
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   would be contrary to decisions rendered by the courts in this Circuit (and elsewhere) and by the

   Supreme Court of Virginia.97

 V.          CONCLUSION

             Accordingly, Plaintiffs respectfully ask the Court to deny the Mast Defendants’ respective

   motions to quash the Second Subpoena to LU and to grant Plaintiffs’ motion to compel.98



   Dated: March 11, 2024                   Respectfully submitted,


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   97
        See, e.g., Doe 1, 480 F.Supp.3d at 227; Banks, Inc., 274 Va. at 454.
   98
     Plaintiffs reserve the right to challenge the Mast Defendants’ claims of privilege and work
   product based on other bases, including the crime-fraud exception.

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 11th day of March, 2024, I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system, which will send a notification of such filing

   to all CM/ECF participants.

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